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 5   Attorneys for Plaintiff Luminence, LLC,
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 8                           UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
     LUMINENCE, LLC,
12
                                                       CASE NO: 19-cv-0157-JAH-MDD
                           Plaintiff,                  REQUEST FOR CERTIFICATE OF
13
                                                       DEFAULT
14           vs.
15
     ULTRAMAILERS, INC.; CM
16
     ENTERPRISES, INC.; THEOD
17
     SIMONIAN, an individual;
18
     and HAIK ABDUNURYAN, an
19
     individual,
20
                           Defendants.
21

22
                       REQUEST FOR CERTIFICATE OF DEFAULT
23
             Please enter the default of Defendants ULTRAMAILERS, INC., CM
24
     ENTERPRISES, INC., THEOD SIMONIAN, and HAIK ABDUNURYAN, pursuant to
25
     Rule 55(a) of the Federal Rules of Civil Procedure for failure to plead or otherwise
26
     defend this action as fully appears from the court file herein and from the attached
27
     declaration of Matthew Capron.
28



                                                   1

                                   REQUEST FOR CERTIFICATE OF DEFAULT
     Case 3:19-cv-00157-JAH-MDD Document 5 Filed 04/19/19 PageID.34 Page 2 of 3



 1   Dated: April 19, 2019                        Respectfully submitted,
                                                  CAPRON LAW OFFICES
 2
                                               By: s/Matthew Capron
 3                                             MATTHEW CAPRON
 4                                             Attorneys for Luminence, LLC
                                               email: mcapron@capronlegal.com
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                              REQUEST FOR CERTIFICATE OF DEFAULT
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 1
                                CERTIFICATE OF SERVICE
 2
            I am a resident of the State of California, over the age of eighteen years, and
 3   not a party to the within action. My business address is CAPRON LAW OFFICES,
     2220 Otay Lakes Rd Suite 502-92, Chula Vista, California 91915. On April 19, 2019, I
 4
     served the foregoing document. 
 5

 6        USPS MAIL TO:         Ultramailers, Inc
 7
                                 17647 Prairie St
                                 Northridge, CA 91325
 8
                                 CM Enterprises, Inc
 9                               17647 Prairie St
10                               Northridge, CA 91325
11                               Theod Simonian
                                 17647 Prairie St
12
                                 Northridge, CA 91325
13
                                 Haik Abdunuryan
14                               17647 Prairie St
15
                                 Northridge, CA 91325

16
           (Federal) I declare under penalty of perjury under the laws of the State of
17         California that the foregoing is true and correct.
18
     Executed on April 19, 2019, at Chula Vista, California.
19

20                                                       s/Matthew H. Capron
                                                         Matthew H. Capron
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                                                 3

                                 REQUEST FOR CERTIFICATE OF DEFAULT
